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 3
                                   UNITED STATES DISTRICT COURT
 4
                                 NORTHERN DISTRICT OF CALIFORNIA
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 6   IN RE: SOCIAL MEDIA ADOLESCENT                           Case No. 4:22-md-03047-YGR
     ADDICTION/PERSONAL INJURY
 7   PRODUCTS LIABILITY LITIGATION                           MDL No. 3047
 8                                                            CASE MANAGEMENT ORDER NO. 7
     This Document Relates to:
 9   ALL CASES
10
     TO ALL PARTIES AND COUNSEL OF RECORD:
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            The Court held a further case management conference in the above-captioned matter on
12
     December 13, 2023. This order memorializes and expands upon the deadlines set and findings
13
     made by the Court during that conference.
14
            I.      Adjustments to the Dismissal Briefing Schedule
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            The Court is in receipt of parties’ joint stipulation to adjust the dismissal briefing schedule
16
     set forth in Case Management Order No. 6. (Dkt. No. 451.) As stated on the record at the
17
     conference, the stipulation is accepted. The Court ORDERS as follows:
18
            •    Plaintiffs shall file the Second Amended Personal Injury Master Complaint withdrawing
19
                 the Identified Counts1 and incorporating by reference the allegations against defendant
20
                 Meta from certain State Attorneys General complaints2 by no later than Friday,
21
                 December 15, 2023;
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          As set forth in parties’ most recent joint case management statement, the “Identified Counts”
     are Count 6 (Negligent Undertaking), Count 11 (Violations of 18 U.S.C. §§ 1595 & 1591), Count
24   13 (Violations of 18 U.S.C. §§ 2252A(f) and 1446A), and Count 15 (Violations of 18
     U.S.C. §§ 2252B and 2258A) as to all defendants; and Count 12 (Violations of 18 U.S.C. §§ 2255
25   and 2252) and Count 14 (Violations of 18 U.S.C. §§ 2255 and 2252A(5)(b)) as to all defendants
     other than the Meta Defendants.
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          Parties are ORDERED to meet and confer regarding the incorporation by reference of
27   allegations in the State Attorneys General complaints, including the State of New Mexico’s
     complaint.
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 1          •   By virtue of plaintiffs’ withdrawal of the Identified Counts from the Master Complaint,

 2              any such counts asserted in Short-Form Complaints are deemed withdrawn; and by

 3              virtue of plaintiffs’ incorporation by reference of certain allegations against defendant

 4              Meta, such allegations are deemed asserted in Short-Form Complaints already filed;

 5          •   Any individual plaintiffs presently asserting the Identified Counts in their Short-Form

 6              Complaints who wish to maintain those causes of action after the Second Amended

 7              Master Complaint is filed shall file amended Short-Form Complaints re-asserting those

 8              counts (and any supporting allegations) by no later than Tuesday, January 2, 2024.3 If

 9              an amended complaint is not filed, individual plaintiffs are deemed to stand on their

10              earlier filed individual Short-Form Complaints;

11          •   The parties shall submit a revised proposed Short-Form Complaint that removes the

12              Identified Counts from the list of counts plaintiffs may select when completing Short-

13              Form Complaints, along with a revised proposed Short-Form Complaint

14              Implementation Order, by no later than Tuesday, January 2, 2024;

15          •   Defendants’ motion to dismiss the Identified Count(s) asserted in individual Short-Form

16              Complaints, if any, shall be consolidated as to all such complaints and shall be filed on

17              January 12, 2024 with a page limit of 25 pages;

18          •   Individual Plaintiffs shall file a consolidated opposition to any motion to dismiss by no
19              later than February 5, 2024 with a page limit of 25 pages;

20          •   Defendants’ consolidated reply shall be filed by February 26, 2024 with a page limit of

21              12.5 pages.

22          •   The schedule for (and page limits applicable to) the motion to dismiss briefing as to all

23              counts other than the Identified Counts shall remain as set by Case Management Order

24              No. 6, at 2-3, except for two modifications. First, the page limits applicable to the Track

25              2 briefing shall be reduced to 35 pages (opening motion), 35 pages (opposition), and

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          Plaintiffs’ liaison counsel is ORDERED to file a notice on the docket by no later than January
27   8, 2024 listing those cases in which plaintiffs have elected to reassert the Identified Counts and
     specifying which counts are reasserted.
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 1                 17.5 pages (reply). Second, the deadline for the opening motions to dismiss in Tracks 1,

 2                 2, and 4 (as identified by Case Management Order No. 6) shall be extended from

 3                 December 18, 2023 to December 22, 2023. All other dates remain.

 4          II.       Plaintiffs’ Individual Fact Sheets

 5          The Court understands parties are in the process of finalizing plaintiffs’ individual fact

 6   sheets in the JCCP (“Judicial Council Coordination Proceedings”). Once approved by Judge Kuhl,

 7   parties shall submit such fact sheets, as well as any related documentation and a proposed form of

 8   implementation order, to this Court for consideration.

 9          III.      Discovery Proceedings Before Magistrate Judge Kang

10          In anticipation of their discovery conference before Magistrate Judge Kang tomorrow,

11   December 14, 2023, parties shall prepare and file an annotated case management statement or

12   proposed agenda that identifies outstanding discovery-related disputes and updates Judge Kang on

13   the status of these and the JCCP.

14          IV.       Defendants’ Pending Motions

15          The Court is in receipt of defendants’ motion for interlocutory appeal. (Dkt. No. 473.) The

16   motion is set for argument at the next case management conference on January 26, 2024 at 2:30

17   p.m.4 Briefing on the motion shall be subject to the following deadlines:

18          •      Plaintiffs’ Opposition & State Attorneys General’s Opposition: January 9, 2024
19          •      Defendants’ Reply: January 19, 2024

20          Separately, defendants request leave to file letter briefs on strategies to facilitate early

21   resolution of the issue of general causation relative to the individual plaintiffs’ Master Complaint.

22   The Court agrees to consider such briefs and sets the following deadlines:

23          •      Simultaneous Opening Letter Briefs: January 15, 2024

24          •      Simultaneous Rebuttal Letter Briefs: January 19, 2024

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26        As indicated in Case Management Order No. 6, the Court is scheduled to be in trial on
     January 26, 2024. If the Court is not in trial, every effort will be made to advance the conference to
27   the morning. The Court will provide sufficient notice of any schedule change in the form of an
     entry on the docket.
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 1          The simultaneous opening letter briefs shall not exceed five single-spaced pages. Parties’

 2   rebuttal letter briefs shall not exceed two single-spaced pages.5 To the extent the State Attorneys

 3   General wish to respond to the above-referenced letter briefs, they may request leave to do so at the

 4   next case management conference.

 5          IT IS SO ORDERED.

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 7
     Dated: December 13, 2023
 8                                                            YVONNE GONZALEZ ROGERS
                                                             UNITED STATES DISTRICT JUDGE
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          Parties are reminded that, as set forth in the Court’s Standing Order for Civil Cases at Section
27   21(a), “[f]ootnotes shall be used sparingly, should never be less than 12-point font, and must
     include a single paragraph space in between individual footnotes.”
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